60 F.3d 825NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.David Joseph FAKOUREY, Defendant-Appellant.
    No. 95-6564.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 22, 1995.Decided:  July 13, 1995.
    
      David Joseph Fakourey, Appellant Pro Se.
      Paul Thomas Farrell, Assistant United States Attorney, Huntington, WV, for Appellee.
      S.D.W.Va.
      AFFIRMED.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying Appellant's "Motion to Grant Bond Time as in Custody Time."  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Fakourey, No. CR-93-237 (S.D.W.Va. Mar. 17, 1995).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We deny Appellant's Motion for Appointment of Counsel
      
    
    